470 F.2d 997
    70 Lab.Cas.  P 13,566
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.RENMUTH, INC., Respondent, International Union, UnitedAutomobile, Aerospace and Agricultural ImplementWorkers of America (UAW), Intervenor.
    Nos. 72-1445, 72-1579.
    United States Court of Appeals,Sixth Circuit.
    Argued Dec. 1, 1972.Decided Dec. 6, 1972.
    
      Marcel Mallet-Prevost, Asst. Gen. Counsel, Peter G. Nash, Patrick Hardin, Robert G. Sewell, N. L. R. B., Washington, D. C., Jerome H. Brooks, Director, Region 7, N. L. R. B., Detroit, Mich., for petitioner.
      Ralph H. Richardson, Detroit, Mich., for respondent.
      Stephen I. Schlossberg, John A. Fillion, Edwin G. Fabre, Detroit, Mich., for intervenor.
      Before WEICK, PECK and KENT, Circuit Judges.
    
    ORDER
    
      1
      These matters are before the Court upon the petition of the National Labor Relations Board for enforcement of two orders issued against the Respondent.  The Board's decisions are reported at 195 NLRB No. 54 and 195 NLRB No. 59.
    
    
      2
      The Intervenor has filed a brief urging enforcement.  The Court holds that the findings of fact of the Board are supported by substantial evidence on the record considered as a whole.
    
    
      3
      It is ordered that the orders of the Board be and they are hereby enforced.
    
    